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 5                           UNITED STATES DISTRICT COURT
 6                         NORTHERN DISTRICT OF CALIFORNIA

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      ELON MUSK, et al.,                          Case No. 4:24-cv-04722-YGR
 8
                       Plaintiffs,                Assigned to Hon. Yvonne Gonzalez Rogers
 9
10        v.                                      [PROPOSED] ORDER GRANTING
                                                  PLAINTIFFS’ MOTION TO DISMISS
11    SAMUEL ALTMAN, et al.,                      OPENAI’S COUNTERCLAIMS
12
                       Defendants.
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                                                               CASE NO. 24-CV-04722-YGR
30                                            [PROPOSED] ORDER GRANTING PLAINTIFFS’ MTD
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 1                                          [PROPOSED] ORDER

 2          This matter comes before the Court on Plaintiffs Elon Musk and X.AI Corp.’s (“Plaintiffs”)

 3 Motion to Dismiss the Counterclaims filed by Defendants OpenAI, Inc., OpenAI OpCo, LLC, and

 4 OpenAI Global, LLC (collectively, “OpenAI”) pursuant to Federal Rules of Civil Procedure 8, 9(b),
 5 and 12(b)(6). Having considered the motion, all supporting and opposing papers, argument, and the
 6 record in this case, the Court rules as follows:
 7                                             BACKGROUND

 8          On April 9, 2025, OpenAI filed counterclaims against Plaintiffs, alleging (1) unfair

 9 competition under California Business & Professions Code §§ 17200 et seq. (“UCL”) and (2)
10 tortious interference with prospective economic advantage. The counterclaims are based on two
11 categories of challenged conduct: (1) Plaintiffs’ communications with the California and Delaware
12 Attorneys General (“Attorneys General”) regarding OpenAI’s governance structure and operations;
13 and (2) a Letter of Intent dated February 10, 2025 (the “LOI”) expressing interest in purchasing
14 OpenAI, Inc.’s assets for $97.375 billion. Plaintiffs move to dismiss the counterclaims on the
15 grounds that (1) Plaintiffs’ communications are protected by the First Amendment; (2) Plaintiffs’
16 communications are also protected by California’s litigation privilege; and (3) OpenAI has failed to
17 state a claim under Rule 9(b)’s heightened pleading standard applicable to its “sham” claim,
18 sounding in fraud, or even Rule 8’s general plausibility standard.
19                                           LEGAL STANDARD

20          To survive a motion to dismiss under Federal Rule of Civil Procedure 12(b)(6), a complaint

21 must contain “sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible
22 on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550
23 U.S. 544, 570 (2007)). A claim is facially plausible when “the plaintiff pleads factual content that
24 allows the court to draw the reasonable inference that the defendant is liable for the misconduct
25 alleged.” Id. The court accepts factual allegations as true but need not accept legal conclusions as
26 true. Id. “Threadbare recitals of the elements of a cause of action, supported by mere conclusory
27 statements, do not suffice.” Id.
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 1          When claims sound in fraud, Rule 9(b)’s heightened pleading standard applies, requiring a

 2 party to “state with particularity the circumstances constituting fraud.” Fed. R. Civ. P. 9(b). This
 3 requires the plaintiff to “identify the who, what, when, where, and how of the misconduct charged,

 4 as well as what is false or misleading about the purportedly fraudulent statement, and why it is
 5 false.” Davidson v. Kimberly-Clark Corp., 889 F.3d 956, 964 (9th Cir. 2018) (internal quotation
 6 marks omitted). Additionally, when claims target constitutionally protected activity, courts demand
 7 more rigorous and detailed pleading. Oregon Nat. Res. Council v. Mohla, 944 F.2d 531, 533 (9th
 8 Cir. 1991).
 9                                               DISCUSSION

10     I.   Plaintiffs’ Communications Are Protected by the First Amendment’s Petition Clause

11          The First Amendment guarantees “the right of the people . . . to petition the Government for

12 a redress of grievances.” U.S. Const. amend. I. Under the Noerr-Pennington doctrine, “those who
13 petition any department of the government for redress are generally immune from statutory liability
14 for their petitioning conduct.” Sosa v. DIRECTV, Inc., 437 F.3d 923, 929 (9th Cir. 2006). This
15 doctrine has been extended beyond the antitrust context to bar state-law tort claims based on activity
16 that implicates the Petition Clause, including claims for tortious interference with prospective
17 economic advantage and unfair competition. Theme Promotions, Inc. v. News Am. Mktg. FSI, 546
18 F.3d 991, 1007 (9th Cir. 2008); Sosa, 437 F.3d at 942.
19          The Court finds that both categories of Plaintiffs’ challenged communications—their

20 communications with the California and Delaware Attorneys General and the LOI—constitute
21 protected petitioning activity. Plaintiffs’ communications with these state officials regarding
22 potential charitable trust violations are quintessential petitioning activity protected by the First
23 Amendment. Kashian v. Harriman, 98 Cal. App. 4th 892, 927 (2002) (holding that attorney
24 communications with an attorney general regarding a charitable trust are protected).
25          The LOI is also protected as petitioning activity because it directly relates to those

26 communications with the Attorneys General and the issues in this ongoing litigation. Had OpenAI
27 engaged with the LOI’s proposal, it may well have settled portions of this dispute as to whether the
28 charity has been compensated at fair market value for its significant technological contributions.
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 1 The fact that OpenAI filed the LOI with this Court, Dkt. 116, further confirms its litigation-related

 2 character.
 3           The “sham” exception to the Noerr-Pennington doctrine does not apply. This exception

 4 requires that (1) the petitioning activity “must be objectively baseless in the sense that no reasonable
 5 [petitioner] could realistically expect success on the merits,” and (2) the subjective motivation must
 6 be to use the governmental process as an anticompetitive weapon. Prof’l Real Estate Invs., Inc. v.
 7 Columbia Pictures Indus., Inc., 508 U.S. 49, 60-61 (1993). OpenAI has failed to plead facts
 8 demonstrating that Plaintiffs’ communications were objectively baseless. The fact that the
 9 Attorneys General have engaged with these concerns, see Dkt. 147 ¶ 108, reflects that they are not
10 objectively baseless. Similarly, the $97.375 billion LOI was signed by major capital funds and
11 formally communicated through counsel to OpenAI’s board of directors, evidencing its seriousness.
12           Because the challenged communications constitute protected petitioning activity and the

13 “sham” exception does not apply, both counterclaims are barred by the First Amendment and
14 amendment would be futile. Cal. Motor Transp. Co. v. Trucking Unlimited, 404 U.S. 508, 510-11
15 (1972).
16    II.    Plaintiffs’ Communications Are Protected by California’s Litigation Privilege

17           Even if the First Amendment did not protect Plaintiffs’ communications, California’s

18 litigation privilege would independently bar OpenAI’s counterclaims. California Civil Code § 47(b)
19 establishes an absolute privilege that precludes liability for any communication (1) made in judicial
20 or quasi-judicial proceedings; (2) by litigants or other participants authorized by law; (3) to achieve
21 the objects of the litigation; and (4) that have some connection or logical relation to the action.
22 Silberg v. Anderson, 50 Cal. 3d 205, 212 (1990).
23           Plaintiffs’ communications with the Attorneys General regarding potential legal violations

24 are privileged as a matter of law. Hagberg v. Cal. Fed. Bank FSB, 32 Cal. 4th 350, 361 (2004)
25 (holding that reports to law enforcement or regulatory authorities concerning possible legal
26 violations are protected). Similarly, the LOI, delivered during ongoing litigation by Plaintiffs’
27 counsel to opposing counsel, relates directly to central issues in this case—OpenAI’s planned for-
28 profit conversion and alleged self-dealing—and therefore falls squarely within the litigation
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 1 privilege. United Artists Corp. v. United Artist Studios LLC, 2019 WL 8221088, at *6-7 (C.D. Cal.

 2 Aug. 2, 2019); Apex.AI, Inc. v. Langmead, No. 23-CV-02230-BLF, 2024 WL 1117055, at *3-4
 3 (N.D. Cal. Mar. 13, 2024); Better Meat Co. v. Emergy, Inc., 2023 WL 2977786, at *5-6 (E.D. Cal.

 4 Apr. 17, 2023). .
 5          The litigation privilege bars all tort claims except malicious prosecution. Rubin v. Green, 4

 6 Cal. 4th 1187, 1193-94 (1993) (holding litigation privilege barred UCL claim); Silberg, 50 Cal. 3d
 7 at 215-16 (holding privilege barred claim for intentional interference with prospective economic
 8 advantage). Accordingly, OpenAI’s counterclaims are barred by California’s litigation privilege and
 9 amendment would be futile. Timothy W. v. Julie W., 85 Cal. App. 5th 648, 661 (2022).
10 III.     OpenAI Fails to State a Claim Upon Which Relief Can Be Granted

11          Even if Plaintiffs’ communications were protected by neither the First Amendment nor

12 California’s litigation privilege, OpenAI’s counterclaims still fail to state a claim upon which relief
13 can be granted.
14          A.      UCL Claim

15          To state a claim under Cal. Bus. & Prof. Code § 17200, a plaintiff must allege facts showing

16 that the defendant engaged in an unlawful, unfair, or fraudulent business act or practice. Cel-Tech
17 Commc’ns, Inc. v. Los Angeles Cellular Tel. Co., 20 Cal. 4th 163, 180 (1999). OpenAI alleges that
18 Plaintiffs’ conduct was both “unfair” and “fraudulent,” but fails to support either theory with the
19 required particularity.
20          A business practice is “unfair” under the UCL only when it “threatens an incipient violation

21 of an antitrust law, or violates the policy or spirit of one of those laws...or otherwise significantly
22 threatens or harms competition.” Id. at 187. OpenAI fails to allege facts establishing an incipient
23 antitrust violation or conduct violating the policy or spirit of antitrust law. It does not identify any
24 specific antitrust law allegedly violated by Plaintiffs’ conduct, nor does it allege facts establishing
25 Plaintiffs’ market power or any actual anticompetitive effects.
26          A business practice is “fraudulent” under the UCL if “members of the public are likely to be

27 deceived.” In re Tobacco II Cases, 46 Cal. 4th 298, 312 (2009). OpenAI fails to identify any
28 consumers who were deceived or explain how they were deceived. Indeed, OpenAI alleges that it
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 1 “recognized the bid as a feint,” Dkt. 147 ¶ 90, and that media reports “recognized it as a sham,” id.

 2 ¶ 85, facts and admissions that contradict its conclusory claim of consumer deception.
 3          Moreover, because OpenAI’s UCL claim sounds in fraud, it is subject to Rule 9(b)’s

 4 heightened pleading standard. Kearns v. Ford Motor Co., 567 F.3d 1120, 1125 (9th Cir. 2009).
 5 OpenAI’s allegations that Plaintiffs’ actions constituted a “sham” fail to satisfy this standard, as
 6 they provide no specific facts regarding “the who, what, when, where, and how of the misconduct
 7 charged.” Davidson, 889 F.3d at 964.
 8          B.      Tortious Interference Claim

 9          To state a claim for tortious interference with prospective economic advantage, a plaintiff

10 must allege: “(1) an economic relationship between the plaintiff and some third party, with the
11 probability of future economic benefit to the plaintiff; (2) the defendant’s knowledge of the
12 relationship; (3) intentional acts on the part of the defendant designed to disrupt the relationship; (4)
13 actual disruption of the relationship; and (5) economic harm to the plaintiff.” Korea Supply Co. v.
14 Lockheed Martin Corp., 29 Cal. 4th 1134, 1153 (2003). Additionally, a plaintiff must allege that the
15 defendant’s conduct was “independently wrongful,” meaning that it was “wrongful by some legal
16 measure other than the fact of interference itself.” Della Penna v. Toyota Motor Sales, U.S.A., Inc.,
17 11 Cal. 4th 376, 393 (1995).
18          OpenAI’s tortious interference claim fails because it does not adequately allege

19 independently wrongful conduct. Its sole claim of independently wrongful conduct is that Plaintiffs’
20 conduct allegedly violated the UCL. Dkt. 147 ¶ 125. As discussed above, OpenAI has failed to state
21 a viable UCL claim, so its derivative tortious interference claim necessarily fails as well. Korea
22 Kumho Petrochemical v. Flexsys Am. LP, 2007 WL 2318906, at *4-5 (N.D. Cal. Aug. 4, 2007).
23 Furthermore, OpenAI fails to identify any specific economic relationship that was disrupted by
24 Plaintiffs’ conduct. Although it generally alleges relationships with “investors, employees, and
25 customers,” Dkt. 147 ¶ 116, it does not identify any specific third party with whom an economic
26 relationship was allegedly disrupted. This level of generality is insufficient to state a claim for
27 tortious interference with prospective economic advantage. Westside Ctr. Assocs. v. Safeway Stores
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 1 23, Inc., 42 Cal. App. 4th 507, 527 (1996) (requiring the plaintiff to identify “an economic

 2 relationship” with a “particular third party”).
 3          Finally, OpenAI fails to allege actual disruption or economic harm resulting from Plaintiffs’

 4 conduct. Its allegations that the LOI “could ‘frighten[] potential investors,’“ Dkt. 147 ¶ 96, and
 5 “complicated the process for undertaking any corporate reorganization, and may ultimately raise
 6 [OpenAI’s] cost of capital,” id. ¶ 121 (emphasis added), are speculative and insufficient to establish
 7 “actual disruption” and “economic harm” as is required. Korea Supply, 29 Cal. 4th at 1153.
 8                                             CONCLUSION

 9          For the foregoing reasons, Plaintiffs’ Motion to Dismiss OpenAI’s Counterclaims is

10 GRANTED. OpenAI’s Counterclaims for Unfair Competition under Cal. Bus. & Prof. Code
11 §§ 17200 et seq. and Tortious Interference with Prospective Economic Advantage are DISMISSED
12 WITH PREJUDICE.
13
14 IT IS SO ORDERED this ____ day of _________________, 2025.
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16                                                       __________________________________
17                                                       The Honorable Yvonne Gonzalez Rogers
                                                         United States District Court Judge
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